                       Case 4:15-cr-00276-KGB                    Document 613           Filed 05/04/17          Page 1 of 6
AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                                                                              JAMEsw
                                                           Eastern District of Arkansas             By:       .
                                                                        )
               UNITED STATES OF AMERICA                                 )      JUDGMENT IN A CRIMINAL CASE                                     DEPCLERK

                                  v.                                    )
                                                                        )
                       DEONDRAJOHNSON                                          Case Number: 4:15-cr-00276-14 KGB
                                                                        )
                                                                        )      USM Number: 29812-009
                                                                        )
                                                                        )       LEA ELLEN FOWLER
                                                                               Defendant's Attorney
                                                                        )
THE DEFENDANT:
Ill pleaded guilty to count(s)     ----
                                       1s                                       ---------·----~,---~----




0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)                  ------·---- -
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
 7 u.s.c. §2024(b)                 Unauthorized Use of SNAP Benefits,                                        8/13/2013                    1s

                                   a Class A Misdemeanor



       The defendant is sentenced as provided in pages 2 through                6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

bl! Count(s)     16                                     Glf is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in econonuc circumstances.

                                                                          5/4/2017
                                                                               ----
                                                                         Date of Imposition of Judgment



                                                                             k"AA ~h.(             Jd. ~(,VV~-
                                                                        ~~tJudge                   f




                                                                          l{risti~_<?· Bak~~· United St~!~sJJis~~ic:_! Judge~--


                                                                         Name and Title of Judge



                                                                         Date       ~ '1, -J)J r:r
                       Case 4:15-cr-00276-KGB            Document 613           Filed 05/04/17         Page 2 of 6
AO 245B (Rev. 11116)   Judgment in a Criminal Case
                       Sheet 4---Probation
                                                                                                    Judgment-Page ____2___ of       6
DEFENDANT: DEONDRAJOHNSON
CASE NUMBER: 4:15-cr-00276-14 KGB
                                                           PROBATION
You are hereby sentenced to probation for a term of :   1 year.
                                                        ~~~~~~~~~~~~~~~~-




                                                     MANDATORY CONDITIONS
1.  You must not commit another federal, state or local crime.
2.  You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
    probation and at least two periodic drug tests thereafter, as determined by the court.
           D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
4.   ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
         where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.   D You must participate in an approved program for domestic violence. (check if applicable)
7.   D You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
    fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                        Sheet 4A - Probation
                                                                                                  Judgment-Page --~3__ of --~6~--

DEFENDANT: DEONDRAJOHNSON
CASE NUMBER: 4:15-cr-00276-14 KGB

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
       you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least I 0 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
I I.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
I 2.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
I3.    You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                      Date
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                        Sheet 40 - Probation
                                                                                          Judgment-Page   _4_ of         6
DEFENDANT: DEONDRAJOHNSON
CASE NUMBER: 4:15-cr-00276-14 KGB

                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate, under the guidance and supervision of the probation officers, in a substance abuse
 treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. Further,
 the defendant shall abstain from the use of alcohol throughout the course of treatment.

 The defendant shall pay for the cost of treatment at the rate of $10 per session with the total cost not to exceed $40 per
 month based on ability to pay as determined by the United States probation office. In the event the defendant is unable to
 pay for the cost of treatment, the co-pay requirement will be waived.

 The defendant shall not make application for any loan or enter into any credit arrangement without approval from the
 probation office unless all criminal penalties have been satisfied.

 The defendant shall disclose business and personal financial information including all assets (including unexpected
 financial gains} and liabilities to the probation office.

 The defendant shall not transfer, sell, give away, or otherwise convey any assets without approval from the probation
 office.
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AO 2458 (Rev. 11/16)    Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                            Judgment -   Page -~5~_   of          6
DEFENDANT:DEONDRAJOHNSON
CASE NUMBER: 4:15-cr-00276-14 KGB
                                                CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                  JVT A Assessment*               Fine                         Restitution
TOTALS               $ 25.00                     $ 0.00                            $ 0.00                       $ 1,065.00


 D The determination of restitution is deferred until            ____ • An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664{1), all nonfederal victims must be paid
         before the United States is paid.

  Name of Payee                                                                 Total Loss**     Restitution Ordered Priority or Percentage
       U.S. Department of Agriculture                                                $1,065.00                 $1,065.00      Joint and Several

       FNS Lock Box

       Attn: Accounting Division

       P.O. Box 929027

       St. Louis, MO 63197-9000




TOTALS                                                                    $            1,065.00_ $_ _ _ 1,065.00


l!l]     Restitution amount ordered pursuant to plea agreement $ _1_,0_6_5.0_0_______ _

D        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

~        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          ~ the interest requirement is waived for the           D fine       ~ restitution.

         D the interest requirement for the         D     fine    D   restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters l 09A, 110, l lOA, and l l 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                        Sheet 6 - Schedule of Payments

                                                                                                                 Judgment - Page   _6=--- of              6
DEFENDANT: DEONDRA JOHNSON
CASE NUMBER: 4:15-cr-00276-14 KGB

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A        ~    Lump sum payment of$          25.00                 due immediately, balance due

              D     not later than                                     , or
              D     in accordance with D       c,     D    D,     D     E,or      liZI" F below; or

B        D    Payment to begin immediately (may be combined with               DC,          DD, or       D F below); or

 C       D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                             (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D        D    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                             (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

E        D    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F        ~    Special instructions regarding the payment of criminal monetary penalties:

               Beginning the first month of probation, payments will be 10 percent per month of the defendant's monthly gross
               income.




Unless the court has expressly ordered otherwise, ifthis judgpient imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




l!'.'l   Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.
          Restitution in the amount of $1065 shall be joint and several with co-defendants Khalid S.A. Alkarsh {4:15-cr-00276-01)
          and Bakil Mohamed Alqirsh {4:15-cr-00276-02) should they be ordered to pay restitution in this case.



D        The defendant shall pay the cost of prosecution.

D        The defendant shall pay the following court cost(s):

D        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the followi11g_order: (1) assessment, (2) restitution principal, (3) restitution interest1 ( 4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) pena1ties, and (9) costs, mcludmg cost of prosecution and court costs.
